Case 9:22-cr-80056-RLR Document 71 Entered on FLSD Docket 11/17/2023 Page 1 of 14
   USCA11 Case: 22-14055 Document: 32-1 Date Filed: 11/17/2023 Page: 1 of 1


                           UNITED STATES COURT OF APPEALS
                              FOR THE ELEVENTH CIRCUIT
                              ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                            56 Forsyth Street, N.W.
                                            Atlanta, Georgia 30303

  David J. Smith                                                                     For rules and forms visit
  Clerk of Court                                                                     www.ca11.uscourts.gov


                                         November 17, 2023
                                                                                               JG
  Clerk - Southern District of Florida
  U.S. District Court
  400 N MIAMI AVE                                                               Nov 17, 2023
  MIAMI, FL 33128-1810

  Appeal Number: 22-14055-HH
                                                                                                   MIAMI

  Case Style: USA v. Kevin Fusco
  District Court Docket No: 9:22-cr-80056-RLR-1

  A copy of this letter, and the judgment form if noted above, but not a copy of the court's
  decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
  was previously forwarded to counsel and pro se parties on the date it was issued.

  The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
  was previously provided on the date of issuance.

  Clerk's Office Phone Numbers
  General Information: 404-335-6100          Attorney Admissions:         404-335-6122
  Case Administration: 404-335-6135          Capital Cases:               404-335-6200
  CM/ECF Help Desk: 404-335-6125             Cases Set for Oral Argument: 404-335-6141




  Enclosure(s)
                                                                      MDT-1 Letter Issuing Mandate
Case 9:22-cr-80056-RLR Document 71 Entered on FLSD Docket 11/17/2023 Page 2 of 14
   USCA11 Case: 22-14055 Document: 32-2 Date Filed: 11/17/2023 Page: 1 of 2




                                       In the
                    United States Court of Appeals
                            For the Eleventh Circuit
                              ____________________

                                    No. 22-14055
                              ____________________

           UNITED STATES OF AMERICA,
                                                         Plaintiﬀ-Appellee,
           versus
           KEVIN FUSCO,


                                                      Defendant-Appellant.


                              ____________________

                     Appeal from the United States District Court
                         for the Southern District of Florida
                        D.C. Docket No. 9:22-cr-80056-RLR-1
                              ____________________

                                    JUDGMENT
Case 9:22-cr-80056-RLR Document 71 Entered on FLSD Docket 11/17/2023 Page 3 of 14
   USCA11 Case: 22-14055 Document: 32-2 Date Filed: 11/17/2023 Page: 2 of 2




           2                                                         22-14055

           It is hereby ordered, adjudged, and decreed that the opinion is-
           sued on this date in this appeal is entered as the judgment of this
           Court.
                               Entered: October 19, 2023
                     For the Court: DAVID J. SMITH, Clerk of Court



           ISSUED AS MANDATE: November 17, 2023
Case 9:22-cr-80056-RLR Document 71 Entered on FLSD Docket 11/17/2023 Page 4 of 14
   USCA11 Case: 22-14055 Document: 30-1 Date Filed: 10/19/2023 Page: 1 of 9




                                                      [DO NOT PUBLISH]
                                       In the
                    United States Court of Appeals
                              For the Eleventh Circuit
                              ____________________

                                    No. 22-14055
                              Non-Argument Calendar
                              ____________________

           UNITED STATES OF AMERICA,
                                                         Plaintiﬀ-Appellee,
           versus
           KEVIN FUSCO,


                                                      Defendant-Appellant.


                              ____________________

                     Appeal from the United States District Court
                         for the Southern District of Florida
                        D.C. Docket No. 9:22-cr-80056-RLR-1
                              ____________________
Case 9:22-cr-80056-RLR Document 71 Entered on FLSD Docket 11/17/2023 Page 5 of 14
   USCA11 Case: 22-14055 Document: 30-1 Date Filed: 10/19/2023 Page: 2 of 9




           2                      Opinion of the Court                 22-14055

           Before NEWSOM, ABUDU, and ANDERSON, Circuit Judges.
           PER CURIAM:
                  Kevin Fusco appeals his sentence of 133 months’ imprison-
           ment for conspiracy to distribute a controlled substance. Fusco
           makes three arguments on appeal. First, he argues that the district
           court erred in denying him a minor-role reduction under U.S.S.G.
           § 3B1.2. Second, he argues that the district court erred in finding
           him ineligible for a two-level safety valve reduction under U.S.S.G.
           § 2D1.1(b)(18). Lastly, Fusco argues that the court imposed a pro-
           cedurally erroneous and substantively unreasonable sentence by
           miscalculating his Sentencing Guidelines range and failing to ade-
           quately consider both the 18 U.S.C. § 3553(a) factors and his miti-
           gation arguments. After careful consideration of the parties’ argu-
           ments, we affirm.
                 The facts are known to the parties; we repeat them here only
           as necessary to decide the case.
                                             I
                   Whether a defendant qualifies for a minor-role reduction is
           a finding of fact that we review for clear error, which means that
           we will reverse only if we have “a definite and firm conviction that
           a mistake has been committed.” United States v. Cruickshank, 837
           F.3d 1182, 1192 (11th Cir. 2016) (internal quotations omitted). The
           district court has “considerable discretion in making this fact-inten-
           sive determination.” United States v. Boyd, 291 F.3d 1274, 1277–78
           (11th Cir. 2002). “The district court’s choice between two permis-
           sible views of the evidence as to the defendant’s role in the offense
Case 9:22-cr-80056-RLR Document 71 Entered on FLSD Docket 11/17/2023 Page 6 of 14
   USCA11 Case: 22-14055 Document: 30-1 Date Filed: 10/19/2023 Page: 3 of 9




           22-14055               Opinion of the Court                          3

           will rarely constitute clear error so long as the basis of the trial
           court’s decision is supported by the record and does not involve a
           misapplication of a rule of law.” Cruickshank, 837 F.3d at 1192 (quo-
           tation marks omitted) (alteration adopted).
                    The Sentencing Guidelines provide for a two-level decrease
           to a defendant’s offense level if he was a “minor participant” in the
           criminal activity, which the Guidelines describe as someone “who
           is less culpable than most other participants in the criminal activity,
           but whose role could not be described as minimal.” U.S.S.G. §
           3B1.2(b) & comment. (n.5). The district court should consider the
           following factors when determining whether a defendant qualifies
           for a reduction: (1) the defendant’s degree of understanding of the
           structure and scope of the criminal activity; (2) the defendant’s de-
           gree of participation in the organization and planning of the crimi-
           nal activity; (3) the defendant’s degree of decisionmaking authority
           or influence over the decisionmaking authority; (4) the defendant’s
           nature and extent of participation in the criminal activity, including
           his actions and his responsibility and discretion in performing those
           actions; and (5) how much the defendant “stood to benefit” from
           the activity. United States v. Presendieu, 880 F.3d 1228, 1249–50 (11th
           Cir. 2018); U.S.S.G. § 3B1.2, comment. (n.3(C)). “[N]o one factor
           is more important than another.” Cruickshank, 837 F.3d at 1195
           (quotation marks omitted).
                 Whether a defendant is entitled to a minor-role reduction is
           “based on the totality of the circumstances and involves a determi-
           nation that is heavily dependent upon the facts of the particular
Case 9:22-cr-80056-RLR Document 71 Entered on FLSD Docket 11/17/2023 Page 7 of 14
   USCA11 Case: 22-14055 Document: 30-1 Date Filed: 10/19/2023 Page: 4 of 9




           4                      Opinion of the Court                  22-14055

           case.” Presendieu, 880 F.3d at 1249 (quotation marks omitted). Spe-
           cifically, the district court should consider: (1) the defendant’s role
           in the relevant conduct for which he has been held accountable for
           at sentencing; and (2) his role compared to that of the other partic-
           ipants in the relevant conduct. Cruickshank, 837 F.3d at 1192.
                  In determining the defendant’s role, “the district court must
           measure the defendant’s role against the relevant conduct for
           which []he has been held accountable.” United States v. De Varon,
           175 F.3d 930, 940, 945. “In other words, the district court must
           assess whether the defendant is a minor or minimal participant in
           relation to the relevant conduct attributed to the defendant in cal-
           culating her base offense level.” Id. at 941. “Even if a defendant
           played a lesser role than the other participants, that fact does not
           entitle [him] to a role reduction since it is possible that none are
           minor or minimal participants.” United States v. Martin, 803 F.3d
           581, 591 (11th Cir. 2015) (quotation marks omitted).
                   Here, the district court did not clearly err in denying Fusco
           a minor-role reduction. The facts illustrate that Fusco understood
           the nature and scope of the Syntropy operation, and he participated
           extensively in carrying out the conspiracy’s goals, including by
           maintaining a business address where he stored, packaged, and dis-
           tributed the drugs. Additionally, Fusco’s $2,500 per week compen-
           sation demonstrates that he stood to benefit from the criminal ac-
           tivity. Lastly, Fusco’s lack of decision-making authority within the
           conspiracy did not require the district court to grant him a minor-
           role reduction, as that factor is not dispositive, and a criminal
Case 9:22-cr-80056-RLR Document 71 Entered on FLSD Docket 11/17/2023 Page 8 of 14
   USCA11 Case: 22-14055 Document: 30-1 Date Filed: 10/19/2023 Page: 5 of 9




           22-14055                   Opinion of the Court                                  5

           conspiracy may exist without any minor or minimal participants.
           See Cruickshank, 837 F.3d at 1195; Martin, 803 F.3d at 591. Accord-
           ingly, we affirm as to this issue.
                                                   II
                   When reviewing the denial of safety-valve relief, we review
           a district court’s factual findings for clear error and review de novo
           its legal interpretation of the Sentencing Guidelines. United States
           v. Johnson, 375 F.3d 1300, 1301 (11th Cir. 2004).
                  Under the safety-valve statute, 18 U.S.C. § 3553(f), a district
           court must impose a sentence pursuant to the Guidelines without
           regard to any statutory minimum if the defendant meets all the
           enumerated factors. Section 402 of the First Step Act amended
           § 3553(f) to apply to more criminal offenses. See United States v. Ti-
           gua, 963 F.3d 1138, 1142 (11th Cir. 2020). 1
                  The Sentencing Guidelines also state that the district court
           shall impose a sentence in accordance with the Guidelines without

           1 The first of the five criteria in § 3553(f), as amended by the First Step Act, is

           that:
                   (1) the defendant does not have--
                            (A) more than 4 criminal history points, excluding any crimi-
                            nal history points resulting from a 1-point offense, as deter-
                            mined under the sentencing guidelines;
                            (B) a prior 3-point offense, as determined under the sentencing
                            guidelines; and
                            (C) a prior 2-point violent offense, as determined under the
                            sentencing guidelines . . . .
           18 U.S.C. § 3553(f)(1).
Case 9:22-cr-80056-RLR Document 71 Entered on FLSD Docket 11/17/2023 Page 9 of 14
   USCA11 Case: 22-14055 Document: 30-1 Date Filed: 10/19/2023 Page: 6 of 9




           6                          Opinion of the Court                        22-14055

           regard to the statutory minimum sentence if the court finds that
           the defendant meets the criteria in § 3553(f)(1)–(5), which it lists.
           U.S.S.G. § 5C1.2. The list included in § 5C1.2 has not been
           amended to incorporate the First Step Act’s changes to § 3553(f). 2
           Compare 18 U.S.C. § 3553(f), with U.S.S.G. § 5C1.2. Section 5C1.2
           still lists the first criterion for safety-valve eligibility as follows:
           “[T]he defendant does not have more than 1 criminal history point,
           as determined under the sentencing guidelines before application
           of subsection (b) of § 4A1.3 (Departures Based on Inadequacy of
           Criminal History Category).” U.S.S.G. § 5C1.2(a)(1). Section
           2D1.1, the Guideline for drug offenses, instructs the court to apply
           a two-level reduction if a defendant meets the safety-valve criteria
           in U.S.S.G. § 5C1.2. Id. § 2D1.1(b)(18).
                  Here, the district court did not err in finding Fusco ineligible
           for a two-level safety-valve reduction. The § 5C1.2 criteria, which
           have not been amended after the First Step Act, state that a defend-
           ant must not have more than one criminal-history point. U.S.S.G.
           § 5C1.2(a)(1). Fusco clearly does not satisfy this criterion because
           he has five criminal-history points. A plain reading of § 5C1.2 does
           not support the automatic incorporation of the amended criteria in


           2 Regarding § 3553(f)(1), we recently held that a defendant “loses eligibility for

           [safety-valve] relief only if all three conditions in subsections (A) through (C)
           are satisfied.” United States v. Garcon, 54 F.4th 1274, 1278 (11th Cir. 2022) (en
           banc). This means that to lose safety-valve relief, “a defendant must have
           more than 4 criminal history points, excluding any . . . 1-point offense, to-
           gether with a prior 3-point offense, together with a prior 2-point violent of-
           fense.” Id. (quotations marks omitted).
Case 9:22-cr-80056-RLR Document 71 Entered on FLSD Docket 11/17/2023 Page 10 of 14
    USCA11 Case: 22-14055 Document: 30-1 Date Filed: 10/19/2023 Page: 7 of 9




           22-14055               Opinion of the Court                          7

           § 3553(f), and Fusco has not pointed to any binding precedent to
           the contrary. Even if the district court erred in denying Fusco a
           two-level safety-valve reduction, that error would be harmless, be-
           cause the judge clearly indicated that she would impose the same
           sentence even if the safety-valve reduction were allowed, and that
           sentence is reasonable. See United States v. Keane, 470 F.3d 1347,
           1348-50 (11th Cir. 2006). Accordingly, we affirm as to this issue.
                                             III
                  When reviewing for both procedural and substantive rea-
           sonableness of a sentence, we apply a deferential abuse-of-discre-
           tion standard. Gall v. United States, 552 U.S. 38, 51 (2007). The party
           challenging a sentence bears the burden of showing that the sen-
           tence is unreasonable in light of the record and the factors listed in
           18 U.S.C. § 3553. United States v. Williams, 526 F.3d 1312, 1322 (11th
           Cir. 2008).
                   A district court commits procedural error by, among other
           things, miscalculating the guideline range. United States v. Pugh, 515
           F.3d 1179, 1190 (11th Cir. 2008). A district court abuses its discre-
           tion and imposes a substantively unreasonable sentence when it
           (1) fails to consider relevant factors that were due significant
           weight, (2) gives significant weight to an improper or irrelevant fac-
           tor, or (3) commits a clear error of judgment by balancing the
           proper factors unreasonably. United States v. Irey, 612 F.3d 1160,
           1189 (11th Cir. 2010) (en banc). We ordinarily expect a sentence
           that falls within the guideline range to be reasonable. United States
           v. Foster, 878 F.3d 1297, 1309 (11th Cir. 2018).
Case 9:22-cr-80056-RLR Document 71 Entered on FLSD Docket 11/17/2023 Page 11 of 14
    USCA11 Case: 22-14055 Document: 30-1 Date Filed: 10/19/2023 Page: 8 of 9




           8                      Opinion of the Court                  22-14055

                  The district court must impose a sentence that is “sufficient,
           but not greater than necessary,” to comply with the purposes listed
           in § 3553(a)(2). 18 U.S.C. § 3553(a). Additionally, the court must
           consider: (1) “the nature and circumstances of the offense and the
           history and characteristics of the defendant”; (3) “the kinds of sen-
           tences available”; (4) the guideline sentencing range; (5) “any perti-
           nent policy statements”; (6) “the need to avoid unwarranted sen-
           tencing disparities among defendants with similar records” who
           have been convicted of similar conduct; and (7) “the need to pro-
           vide restitution to any victims.” Id. § 3553(a)(1), (3)–(7).
                   We must give due deference to the district court’s consider-
           ation and weighing of the proper sentencing factors. United States
           v. Shabazz, 887 F.3d 1204, 1224 (11th Cir. 2018). The district court
           does not have to give all the factors equal weight and is given dis-
           cretion to attach greater weight to one factor over another. United
           States v. Rosales-Bruno, 789 F.3d 1249, 1254 (11th Cir. 2015). We will
           not reverse a sentence solely because we could reasonably con-
           clude that a different sentence was more appropriate. Gall, 552 U.S.
           at 51. The district court’s failure to specifically mention at sentenc-
           ing certain mitigating factors does not compel the conclusion that
           the sentence crafted in accordance with the § 3553(a) factors is sub-
           stantively unreasonable. United States v. Snipes, 611 F.3d 855, 873
           (11th Cir. 2010). District courts need not explicitly address all mit-
           igating evidence, so long as the record reflects that the court con-
           sidered the sentencing factors and the parties’ arguments. United
           States v. Taylor, 997 F.3d 1348, 1354–55 (11th Cir. 2021).
Case 9:22-cr-80056-RLR Document 71 Entered on FLSD Docket 11/17/2023 Page 12 of 14
    USCA11 Case: 22-14055 Document: 30-1 Date Filed: 10/19/2023 Page: 9 of 9




           22-14055               Opinion of the Court                        9

                 Here, the district court did not impose a procedurally erro-
           neous sentence. As already explained, the court did not err in deny-
           ing Fusco minor-role and safety-valve reductions. Thus, the court
           imposed a procedurally sound sentence.
                  The district court also imposed a substantively reasonable
           sentence in this case. First, the record shows that the court
           properly considered the § 3553(a) factors in determining Fusco’s
           sentence, specifically citing the nature and circumstances of the of-
           fense, the defendant’s criminal history, and the need for general de-
           terrence. Second, the record shows that the court heard and con-
           sidered the parties’ arguments, including Fusco’s mitigation argu-
           ment. Lastly, the court’s sentence was below the guideline range,
           which suggests it was substantively reasonable. Accordingly, we
           affirm as to this issue.
                 AFFIRMED.
Case 9:22-cr-80056-RLR Document 71 Entered on FLSD Docket 11/17/2023 Page 13 of 14
    USCA11 Case: 22-14055 Document: 30-2 Date Filed: 10/19/2023 Page: 1 of 2


                             UNITED STATES COURT OF APPEALS
                                FOR THE ELEVENTH CIRCUIT
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   David J. Smith                                                                      For rules and forms visit
   Clerk of Court                                                                      www.ca11.uscourts.gov


                                            October 19, 2023

   MEMORANDUM TO COUNSEL OR PARTIES

   Appeal Number: 22-14055-HH
   Case Style: USA v. Kevin Fusco
   District Court Docket No: 9:22-cr-80056-RLR-1

   All counsel must file documents electronically using the Electronic Case Files ("ECF") system,
   unless exempted for good cause. Although not required, non-incarcerated pro se parties are
   permitted to use the ECF system by registering for an account at www.pacer.gov. Information
   and training materials related to electronic filing are available on the Court's website.

   Enclosed is a copy of the court's decision filed today in this appeal. Judgment has this day been
   entered pursuant to FRAP 36. The court's mandate will issue at a later date in accordance with
   FRAP 41(b).

   The time for filing a petition for rehearing is governed by 11th Cir. R. 40-3, and the time for
   filing a petition for rehearing en banc is governed by 11th Cir. R. 35-2. Except as otherwise
   provided by FRAP 25(a) for inmate filings, a petition for rehearing or for rehearing en banc is
   timely only if received in the clerk's office within the time specified in the rules. Costs are
   governed by FRAP 39 and 11th Cir.R. 39-1. The timing, format, and content of a motion for
   attorney's fees and an objection thereto is governed by 11th Cir. R. 39-2 and 39-3.

   Please note that a petition for rehearing en banc must include in the Certificate of Interested
   Persons a complete list of all persons and entities listed on all certificates previously filed by
   any party in the appeal. See 11th Cir. R. 26.1-1. In addition, a copy of the opinion sought to be
   reheard must be included in any petition for rehearing or petition for rehearing en banc. See
   11th Cir. R. 35-5(k) and 40-1 .

   Counsel appointed under the Criminal Justice Act (CJA) must submit a voucher claiming
   compensation for time spent on the appeal no later than 60 days after either issuance of mandate
   or filing with the U.S. Supreme Court of a petition for writ of certiorari (whichever is later) via
   the eVoucher system. Please contact the CJA Team at (404) 335-6167 or
   cja_evoucher@ca11.uscourts.gov for questions regarding CJA vouchers or the eVoucher
   system.
Case 9:22-cr-80056-RLR Document 71 Entered on FLSD Docket 11/17/2023 Page 14 of 14
    USCA11 Case: 22-14055 Document: 30-2 Date Filed: 10/19/2023 Page: 2 of 2



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                                                       OPIN-1 Ntc of Issuance of Opinion
